Case 2:10-md-02179-CJB-DPC Document 6930-9 Filed 07/18/12 Page 1 of 8




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Case 2:10-md-02179-CJB-DPC Document 6930-9 Filed 07/18/12 Page 2 of 8
Case 2:10-md-02179-CJB-DPC Document 6930-9 Filed 07/18/12 Page 3 of 8
Case 2:10-md-02179-CJB-DPC Document 6930-9 Filed 07/18/12 Page 4 of 8
Case 2:10-md-02179-CJB-DPC Document 6930-9 Filed 07/18/12 Page 5 of 8
Case 2:10-md-02179-CJB-DPC Document 6930-9 Filed 07/18/12 Page 6 of 8
Case 2:10-md-02179-CJB-DPC Document 6930-9 Filed 07/18/12 Page 7 of 8
Case 2:10-md-02179-CJB-DPC Document 6930-9 Filed 07/18/12 Page 8 of 8
